  Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 1 of 42




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                      ROME DIVISION



ANTHONY COWARD, and
WENDY COWARD,
                                      CIVIL ACTION NO.
Plaintiffs,
                                      4:15-CV-0245-HLM
 V.


FORESTAR REALTY, INC.,
NEW TOWNE PROPERTIES,
LLC, TEMCO ASSOCIATES,
LLC, and JOHN DOES 1
THROUGH 15,

Defendants.


                                ORDER

        This case is before the Court on Defendants Forestar

Realty, Inc. and Temco Associates, LLC's Motion to Dismiss

[16].
     Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 2 of 42




I.      standard Governing a 12(b)(1) Motion to Dismiss

        Defendant Forestar Realty, Inc. ("Defendant Forestar")

and Defendant Temco Associates, LLC ("Defendant Temco")

move to dismiss Counts I and II of Plaintiffs' Complaint

pursuant to Federal Rule of Civil Procedure 12(b)(1). (Mot.

Dismiss (Docket Entry No. 16) at 1.)

        A    court   should     dismiss    a complaint       for       lack    of

jurisdiction      under     Rule    12(b)(1)     only   where         it    lacks

jurisdiction over the subject matter of the dispute. Fed. R.

Civ. P. 12(b)(1). "Attacks on subject matter jurisdiction come

in two forms: 'facial attacks' and 'factual attacks.'"                      AFC

Enters., Inc. v. Restaurant Group, LLC, Civil Action File No.

1:10-CV-01772-TWT, 2010 WL 4537812, at *2 (N.D. Ga.

Nov. 3, 2010). "Facial attacks 'required the court merely to

look and see if [the] plaintiff has sufficiently alleged a basis of

subject       matter jurisdiction,      and the      allegations           in his
                                       2
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 3 of 42




complaint are taken as true for the purposes of the motion.'"

Id, (quoting Lawrence v. Dunbar. 919 F.2d 1525, 1529 (11th

Cir. 1990)). A plaintiff opposing a facial attack consequently

"is afforded safeguards similar to those provided in opposing

a Rule 12(b)(6) motion." I d

     A factual attack, in contrast, challenges "'the existence

of subject matter jurisdiction in fact, irrespective of the

pleadings, and matters outside the pleadings, such as

testimony and affidavits, are considered.'" AFC Enters.. Inc..

2010 WL 4537812, at *2 (quoting Lawrence. 919 F.2d at

1529) (internal quotation marks omitted). In a factual attack,

"[tjhe presumption of truthfulness does not attach to the

plaintiff's allegations."   Jd,   Additionally, "'the existence of

disputed material facts will not preclude the trial court from

evaluating for itself the merits of jurisdictional claims.'"      \±


                                   3
  Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 4 of 42




(quoting Scarfo v. Ginsberg, 175 F.Sd 957, 960-61 (11th Cir.

1999)).

II.   Background

      A.   Plaintiffs' Allegations

           1.    The Parties

      Plaintiffs, husband and wife, own property and reside at

186 Lullwater       Late, Dallas, Paulding County,             Georgia.

(Compl. (Docket Entry No. 1) H 9.) Plaintiffs bring this action

under the citizen suit provision of the Clean Water Act. (jd.)

Defendant Forestar is a foreign corporation doing business in

Paulding County, Georgia.          (Jd, 1| 10.) Defendant Forestar

owns or operates the Seven Hills residential subdivision

located at Seven Hills Boulevard and Lullwater Lane. (Id,)

Defendant New Towne Properties, LLC ("Defendant New

Towne") is a Georgia limited liability company and is, or was,

an owner or operator of property located within Seven Hills.
                                    4
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 5 of 42




(Id, TJ 11.) Defendant Temco is also a Georgia limited liability

company with its principal office in Austin, Texas that is, or

was, an owner or operator of Seven Hills.                  (Id, U 12.)

Defendants     John      Does     are    developers,      contractors,

subcontractors, and other persons and entities, who are

liable for the conduct described in the Complaint. (Id, U 13.)

          2.    Plaintiffs' Purchase of the Property

      On or about February 5, 2007, Plaintiffs entered into a

New    Construction      Purchase       and   Sale    Agreement     to

construct their home within Unit D of Seven Hills on Lot 13.

(Compl. H 14.) Lot 13 was a wooded lot located on a cul-de-

sac with a large creek behind it. (jd,) Plaintiffs moved into

their home at 186 Lullwater Lane on or about September 19,

2007. (Id,HIS.)




                                   5
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 6 of 42




          3.    History of Plaintiffs' Issues

     In   August        of      2011,      Plaintiffs     contacted   their

homeowners' association and Paulding County to file a

complaint when the silt fence separating their property from

the retention pond on the adjacent Lot 12 fell down. (Compl.

H 16.)    Plaintiffs observed storm water and mud flowing

across their property and into Little Pumpkinvine Creek from

the adjacent lot, which killed the sod in their yard. (Jd, 1| 17.)

In the early portion of 2014, construction began on Lot 12.

(Jd H 18.)     On or about March 24, 2014, Plaintiffs notified

Paulding County that storm water and eroded soils washed

across their property and into the creek after it rained. (Jd.)

     According     to        Plaintiffs,   before       the   beginning   of

construction on Lots 9, 10, 11, and 12, their property did not

experience flooding with excessive amounts of storm water

and eroded soils, sediment, rock, sand, debris, and other
                            6
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 7 of 42




materials when it rained. (Compl. fl 20.) Plaintiffs claim that,

since construction on those lots began, discharges of eroded

soils, sediment-laden storm water, rock, sand, dirt, debris,

and other materials onto Plaintiffs' property and into the

creek have increased substantially when it rains. (Id, fl 21.)

Plaintiffs state that these discharges have flowed and

continue to flow onto Plaintiffs' property and into Little

Pumpkinvine Creek as well as adjacent wetlands. (Id, fl 24.)

Plaintiffs allege that Defendants' construction activities at

Seven    Hills   were     conducted         without   proper      design,

installation, and maintenance of appropriate erosion and

sediment    control     measures       in    accordance     with    Best

Management Practices ("BMPs") as required by the CLearn

Water Act, the Georgia Water Quality Control Act, and the

Georgia Erosion and Sedimentation Act of 1975. (Id, fl 22.)


                                   7
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 8 of 42




          4.    Subsequent, Specific Events

     On or about December 23, 2014, Plaintiffs" garage

flooded and the driveway was washed out during a rain

event. (Compl. H 26.) Plaintiffs reported the event to their

homeowners association and indicated that the grading for

Lots 9 and 10 had caused additional sediment-laden storm

water and mud to flow across the cul-de-sac and onto

Plaintiffs' property. (Jd.)

     On or about June 4, 2015, sediment-laden storm water

and mud flowed from Lots 9 and 10 across the cul-de-sac,

onto Plaintiffs' property, and into Little Pumpkinvine Creek,

during a rainstorm. (Compl. fl 27.) Plaintiffs photographed

the event and claim that BMPs put in place by Defendants

failed on that day. (Jd; Compl. Ex. C (Docket Entry No. 1-4).)

Plaintiffs also claim that "excessive amounts of sediment-

laden storm water and mud flowed from Lots 9, 10 and 11
                           8
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 9 of 42




across the cul-de-sac onto [Plaintiffs'] property and into Little

Pumpkinvine Creek during a rain event" on June 4, 2015,

June 9, 2015, June 11, 2015, June 24, 2015, June 27, 2015,

July 1, 2015, July 6, 2015, August 5, 2015, August 8, 2015,

August 17, 2015, August 18, 2015, August 19, 2015, August

20, 2015, August 23, 2015, September 3, 2015, November

18, 2015, December 1, 2015, and December 2, 2015.

(Compl.      27-39.) On several of those days. Plaintiffs took

photographs of what occurred.           (Compl. Ex. C, D, F, H-K

(Docket Entry Nos. 1-4, 1-5, 1-6, and 1-8 through 1-11).) On

several days. Plaintiffs recorded videos of what happened.

(Compl. Ex. E (Docket Entry No. 5).) On June 24, 2015, in

particular, Plaintiffs allege that sediment accumulated on

their driveway.    (Compl. Ij 29; Compl. Ex. G (Docket Entry

No. 1-7).)     Plaintiffs state that on September 3, 2015

Defendants installed a drain in the cul-de-sac immediately
                             9
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 10 of 42




upstream of Plaintiffs' driveway and during installation of the

drain, excessive amounts of sediment-laden storm water and

mud flowed across the cul-de-sac and onto Plaintiffs'

property and into the creek.         (Compl. H 35.) According to

Plaintiffs, water and mud that enters the drain discharges

onto their property and into the creek. (Jd; Compl. Ex. E and

J-)

      Plaintiffs allege that storm water and other pollutants

continue to be discharged onto their property and into Little

Pumpkinvine Creek and adjacent wetlands during                     rain

events. (Compl. 1141.)

           5.    Permits and Government Actions

      Plaintiffs make the following allegations with respect to

the Clean Water Act, 33 U.S.C. § 1251 et seq (the "CWA").

According to Plaintiffs, the CWA requires permits under the

National Pollutant Discharge Elimination System ("NPDES")
                             10
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 11 of 42




for all point source discharges of pollutants into waters of the

United States.       (Compl. H 42.)         Plaintiffs state that, in

Georgia, discharges associated with construction activities

are covered under the State of Georgia's NPDES General

Storm Water Permit (the "General Permit").                  (Id, H 44.)

Under the General Permit, storm water discharges may not

violate Georgia water quality standards set forth in Georgia

Rules and Regulations § 391-3-6-.03. (Jd, ^ 45.) Plaintiffs

state that the General Permit has a variety of requirements

including the maintaining of appropriate BMPs, adherence to

engineering principles, protection of adjoining properties,

providing a non-erosive water flow to maintain                     natural

physical and biological charger of watercourses, and having

an Erosion Sedimentation and Pollution Control Plan. (Jd,11|

46-52.)


                                   11
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 12 of 42




     Plaintiffs allege that on September 26, 2008, Defendant

Temco, along with Cousins Real Estate Corp., as Managing

Member, and Craig A. Lacey, as Vice President, filed a

Notice of Intent ("NOI") for coverage under the General

Permit for Seven Hills Unit D. (Compl. T| 53; Compl. Ex. A

(Docket Entry No. 1-2) Ex. A.) The NOI was a Re-Issuance

Notification for an existing construction site and indicated

that construction began on the site on April 15, 2005.

(Compl. H 54; Ex. A. to Compl. Ex. A.) On May 12, 2005,

Defendant Tecmo submitted site development plan for

Seven Hills Unit D to Paulding County, and Defendant

Tecmo has not filed a notice of termination to terminate

coverage under the General Permit for construction at Seven

Hills Unit D. (Compl. H 55.)

     Plaintiffs state that on June 2, 2014, Defendant Forestar

filed a NOI under the General Permit to discharge storm
                          12
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 13 of 42




water from land-disturbing activities at Seven Hills Unit D as

the Primary Permittee. (Compl. H 56; Ex. B to Compl. Ex. A.)

Defendant Forestar also submitted a site development plan

dated April 27, 2005 to Paulding County for Seven Hills Unit

D.   (Compl. H 57.)        Plaintiffs allege that Defendant New

Towne filed several NOIs as a Secondary Permittee for

several lots in the Lullwater Lane neighborhood including

Lots 12, 20, 11, 22, and 25. (Compl. H 58; Ex. C to Compl.

Ex. A.)

     Plaintiffs claim that, on January 6, 2014, Paulding

County Erosion and Sediment Control issued a Stop Work

Order to Defendant New Towne for several deficiencies at

191 Lullwater Lane-Lot 12~, including "failure to follow plan"

and "pumping mud/silt into creek." (Compl. H 59; Ex. D. to

Compl. Ex. A.)        Plaintiffs state that, on May 29, 2015,

Paulding County issued a Stop Work Order to Defendant
                          13
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 14 of 42




New     Towne      for   erosion     and     sedimentation         control

deficiencies on Lots 25, 22, 20, 11, and 19. (Compl. U 59;

Ex. E. to Compl. Ex. A.)^          Plaintiffs claim that Defendants

failed to follow the Erosion, Sedimentation and Pollution

Control Plan by not installing upstream drainage swale as

shown in the original construction plans. (Compl. H 60; Ex. F

to Compl. Ex. A.f

           6.   Plaintiffs' Claims

      Plaintiffs allege the following claims against Defendants:

(1) violation of the CWA (Compl.             75-84); (2) violation of

the CWA by the filling of jurisdictional waters and wetlands

(id HH 85-91); (3) trespass (jd HH 92-94); (4) nuisance (id HH


^ The Court notes that the documents attached as Exhibits D and
E to Exhibit A to the Complaint are basically illegible.
^ Exhibit F to Complaint Exhibit A states that, as of a site visit on
July 7, 2015, "[a] large portion of the clearing that had been
performed on lots 9 & 10 was to facilitate upstream drainage
swale installation that had been called for in original construction
plans." (Ex. F to Compl. Ex. A.)
                                14
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 15 of 42




95-96); (5) punitive damages             (id HH 97-98); and (6)

attomeys' fees (jd HH 99-100).           Counts III, IV, V, and VI

apparently arise under Georgia law.

       B.   Procedural Background

       Plaintiffs filed this case on December 18, 2015. (Docket

Entry No. 1.)     On February 16, 2016, Defendants Forestar

and Temco filed their Motion to Dismiss. (Docket Entry No.

16.) The briefing process for that Motion is now complete,

and the Court finds that the matter is ripe for resolution.

III.   Discussion

       A.   Applicability of CWA § 404

       Count II of the Complaint alleges that Defendants are

violating the Clean Water Act "by discharging dredged and/or

fill material without a permit issued under § 404."                (Resp.

Mot. to Dismiss (Docket Entry No. 17) at 11.)               Defendants

Forestar and Temco contend that the discharges of eroded
                                   15
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 16 of 42




materials in this case are governed only under the NPDES

permit program found in § 402 and do not require a § 404

permit. (Br. Supp. Mot. to Dismiss (Docket Entry No. 16-1)

at 8-10.)

     CWA § 404, codified at 33 U.S.C. § 1344, requires a

permit for "[a]ny discharge of dredged or fill                     material

into...navigable waters incidental to any activity having as its

purpose bringing an area of the navigable waters into a use

to which it was not previously subject."                 33 U.S.C. §

1344(f)(2).     "Section 404(a) gives the [Army] Corps [of

Engineers] power to 'issue permits ... for the discharge of

dredged or fill material.'" Coeur Alaska. Inc. v. Se. Alaska

Conservation Council, 557 U.S. 261, 275 (2009) (quoting 33

U.S.C. § 1344(a)). Army Corp regulations define "dredged

material" to mean "material that is excavated or dredged

from waters of the United States." 33 C.F.R. § 323.2(c). The
                             16
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 17 of 42




same regulations define "fill material" as "material placed in

waters of the United States where the material has the effect

of: (i) Replacing any portion of a water of the United States

with dry land; or (ii) Changing the bottom elevation of any

portion of a water of the United States."           Id, § 323.2(e)(1).

Examples of fill material include "rock, sand, soil, clay,

plastics, construction debris, [and] wood chips."                  jd   §

323.2(e)(2). Additionally, the regulation states:

     The term discharge of fill material means the
     addition of fill material into waters of the United
     States. The term generally includes, without
     limitation, the following activities: Placement of fill
     that is necessary for the construction of any
     structure or infrastructure in a water of the United
     States; the building of any structure, infrastructure,
     or impoundment requiring rock, sand, dirt, or other
     material for its construction; site-development fills
     for recreational, industrial, commercial, residential,
     or other uses; causeways or road fills; dams and
     dikes; artificial islands; property protection and/or
     reclamation devices such as riprap, groins,
     seawalls, breakwaters, and revetments; beach
     nourishment; levees; fill for structures such as
                                17
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 18 of 42




     sewage treatment facilities, intake and outfall pipes
     associated with power plants and subaqueous
     utility lines; placement of fill material for
     construction or maintenance of any liner, berm, or
     other infrastructure associated with solid waste
     landfills; placement of overburden, slurry, or tailings
     or similar mining-related materials; and artificial
     reefs. The term does not include plowing,
     cultivating, seeding and harvesting for the
     production of food, fiber, and forest products.

33 C.F.R. § 323.2(f).

     "As the regulatory regime stands now, a discharger

must ask a simple question—is the substance to be

discharged fill material or not? The fill regulation, 40 CFR §

232.2, offers a clear answer to that question; and...if the

discharge is fill, the discharger must seek a § 404 permit

from the Corps." Coeur Alaska, 557 U.S. at 276. According

to four Justices of the Supreme Court, "dredged or fill

material" are "unlike traditional water pollutants" because

they "are solids that do not readily wash downstream."

                                   18
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 19 of 42




Rapanos v. United States, 547 U.S. 715, 723 (2006)

(plurality opinion), see also i d at 744-45 ("In contrast to the

pollutants normally covered by the permitting requirement of

§ 1342(a), 'dredged or fill material,' which is typically

deposited for the sole purpose of staying put, does not

normally wash downstream, and thus does not normally

constitute   an    'addition    ... to   navigable     waters'      when

deposited     in   upstream      isolated    wetlands.        The    Act

recognizes this distinction by providing a separate permitting

program for such discharges in § 1344(a)." (alteration in

original) (footnote and citations omitted)); but see j d at 775

(J. Kennedy concurring) (questioning the proposition that fill

material does not normally wash downstream) arid j d at 806-

07 (J. Stevens dissenting) (suggesting that while most fill

materials will probably stay put, at least some fill material

makes its way downstream). The United States Court of
                         19
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 20 of 42




Appeal for the Eleventh Circuit has suggested that rain water

runoff from a point source falls within the prohibited pollutant

discharges under the CWA and requires a NPDES permit.

Driscoll V. Adams, 181 F.Sd 1285, 1290 (11th Cir. 1999).

While Plaintiffs are correct that Driscoll does not directly

address the possible differences in the applicability of the

CWA's two permit schemes under § 402 and § 404, it is still

informative.

     Plaintiffs also argue that: "The Clean Water Act requires

a permit under the National Pollutant Discharge Elimination

System (NPDES) for storm water discharges associated with

construction    and    industrial    activities   including    clearing,

grading and excavation of at least one acre." (Resp. Mot. to

Dismiss at 15.) The Affidavit of Plaintiffs' expert states the

same. (Aff. of Dr. Brian Wellington (Docket Entry No. 17-2) \

4.) CWA § 402 provides the EPA the authority to "issue a
                         20
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 21 of 42




permit for the discharge of any pollutant, or combination of

pollutants" "[e]xcept as provided in sections 1328 and 1344."

33 U.S.C. § 1342(a)(1). The Supreme Court explained:

     Section 402 gives the EPA authority to issue
     "permit[s] for the discharge of any pollutant," with
     one important exception: The EPA may not issue
     permits for fill material that fall under the Corps' §
     404 permitting authority....Section 402 thus
     prohibits the EPA from exercising permitting
     authority that is "provided [to the Corps] in" § 404.

Coeur Alaska, 557 U.S. at 273 (alterations in original).

     The Court concludes that § 404 is inapplicable to the

facts presented in this case. Most significantly, Defendants

Forestar and Temco are not engaged in either dredging or

filling the Little Pumpkinvine Creek.            Their construction-

related activities have the purpose of constructing residential

homes on undeveloped property, not changing the use ofthe

waterway.      33 C.F.R. § 323.2(f) also provides a list of

activities that constitute "discharge of fill material." The Court
                                 21
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 22 of 42




cannot easily analogize the actions of Defendants Forestar

and Temco to any activity on that list.          Based on the plain

language of the statute and the implementing regulations,

the Court finds that CWA § 404 does not cover the activities

of Defendants Forestar and Temco.

     Additionally, the sediment that Plaintiffs allege is flowing

from the under-construction lots over the cul-de-sac, through

Plaintiffs' property, and into the Creek is not dredge or fill

material under the applicable regulations.              Clearly, such

sediment was not dredged from the Creek. There are also

no facts that would suggest that the sediment is either

replacing any portion of the water with dry land or changing

the bottom elevation of the Little Pumpkinvine Creek. There

are no allegations suggesting that the sediment does

anything other than flow downstream. Plaintiffs' vague and

conclusory allegations do not suggest otherwise. (Compl. \
                             22
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 23 of 42




67.)    In Starlink Logistics. Inc. v. ACC. LLC. No. 1:12-CV-

0011, 2013 WL 2177908 (M.D. Tenn. May 20, 2013),

another United States District Court, concluded that the

palintiff's allegation "that the ongoing discharge of sediment-

laden stormwater has, over time, substantially raised the

bottom elevation of the upper portion o f                  a lake was

insufficient because the agency regulations made it clear that

this type of discharge did not constitute fill material.            2013

WL 2177908 at *6.            Starlink applied the same agency

regulations and interpretations relevant here and noted that

the     courts   give   substantial     deference     to   an      agency

interpretation that is not plainly erroneous.          Jd, The Court

finds the reasoning in Starlink persuasive, and applies it

here.     The Court thus concludes that the sediment-laden




                                   23
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 24 of 42




stormwater discharges in this case do not constitute fill

material.^

     Finally, the Parties, and Plaintiffs' expert, agree that

CWA § 402 is relevant to this case.            The Supreme Court,

however, has found that the EPA and Corps' permit-granting

authority is not entirely concurrent. Instead, where the Corps

has authority to issue a permit for a given activity, the EPA

^ Another court in this District allowed a case "alleging that the
defendants caused silt and sediment-laden water to be
discharged into the two lakes and the surrounding wetlands" in
violation of CWA §§ 301, 402, and 404 to proceed past summary
judgment. City of Mountain Park. GA v. Lakeside at Anslev,
 LLC, 560 F. Supp. 2d 1288, 1289-90 (N.D. Ga. Apr. 15, 2008).
That court, however, did not address the scope of § 404 permits
or the meaning of fill material. See generally id. In fact, it does
 not even appear that the parties in that case raised the issue.
The Court therefore does not find that case persuasive. Another
case cited by Plaintiffs, Jones Creek Inv'rs. LLC v. Columbia
Cty.. Ga.. No. CV 111-174, 2013 WL 1338238 (S.D. Ga. Mar. 28,
2013), relies on Mountain Park and does not address the issues
 raised by Defendants Forestar and Temco. Additionally, Jones
 Creek is distinguishable because there were factual allegations
that the rainwater, sediment, and rock were settling into, filling
 up, and staying in the lake at issue. 2013 WL 1338238 at *3-4.

                                   24
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 25 of 42




does not, and vice-versa.         Plaintiffs argue that: "Although

Defendants are correct that § 404 permittees may be

exempted from the NPDES permit system, this does not

mean that the reverse is also true.               There is no legal

authority to support the contention that a § 402 permittee is

exempt from the requirements under § 404." (Resp. Mot. to

Dismiss at 17.) With all due respect. Plaintiffs' logic here is

flawed.    If a § 402 permittee also had to obtain a § 404

permit for the same activity, then the Corps would have

authority to issue that § 404 permit. The Supreme Court has

made it clear that if the Corps has authority to issue a § 404

permit, then the EPA does not have authority to issue a §

402 permit at the same time for the same activity. It is thus

quite true, and supported by the highest legal authority, that

§ 402 permittees do not also need § 404 permits for the

same activity.     It is possible that the same permittee may
                                 25
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 26 of 42




need both permits. (See Surreply Mot. to Dismiss (Docket

Entry No. 23) at 3-5.)       The issue in this case, however, is

moot     because    Plaintiffs   have failed      to   establish   that

discharges caused by Defendants Temco and Forestar are

"incidental to any activity having as its purpose bringing an

area of the navigable waters into a use to which it was not

previously subject" or are filling in the Little Pumpkinvine

Creek.

       Based on the foregoing reasons, the Court concludes

that Defendants Forestar and Temco were not required to

obtain a permit under CWA § 404."^              The Court therefore

dismisses Count II of Plaintiffs' Complaint.




^ Furthermore, based on this conclusion, the Court need not
determine whether § 404 provides a private right of action to
enforce the section. (See Br. Supp. Mot. to Dismiss at 10-15.)
                               26
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 27 of 42




     B.    Current or Past Violations

     Defendants Forestar and Temco argue that Plaintiffs

have only plead past violations of the CWA and the evidence

shows there are only past violations of the CWA, which

deprives the Court of subject matter jurisdiction. (Br. Supp.

Mot. to Dismiss at 16-24.) Defendants Forestar and Temco

thus make both a facial challenge and a factual challenge to

Plaintiffs' claims.      The Court evaluates each of those

challenges separately.

     CWA § 505 "states that in the absence of federal or

state enforcement, private citizens may commence civil

actions against any person 'alleged to be in violation of the

conditions of their NPDES permit." Atl. States Legal Found.,

Inc. V. Tyson Foods. Inc., 897 F.2d 1128, 1133 (11th Cir.

1990).    Thus, "a plaintiff proceeding under § 1365 must

prove that the defendant was violating the Act at the time the
                            27
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 28 of 42




suit was initiated." State of Ga. v. City of E. Ridge. Tenn..

949 F. Supp. 1571, 1579 (N.D. Ga. Nov. 20, 1996) (citing

Gwaltney v. Chesapeake Bay Foundation. 484 U.S. 49, 6 4 -

65 (1987)).      "In other words, the plaintiff must show that,

when the suit was filed, there existed 'a state of either

continuous or intermittent violation—that is, a reasonable

likelihood that a past polluter will continue to pollute in the

future.'"   City of E. Ridge. Tenn.. 949 F. Supp. at 1579

(quoting Gwaltney. 484 U.S. at 57).

            1.   Facial Challenge

     "[A] good faith allegation of violations that continued at

the time suit was filed is sufficient for jurisdictional purposes."

Atl. States Legal Found.. 897 F.2d at 1133.                For a facial

challenge, plaintiffs receive protections similar to those when

responding to a motion to dismiss for failure to state a claim.

AFC Enters.. 2010 WL 4537812, at *2. When reviewing a
                         28
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 29 of 42




motion to dismiss, the Court must take the allegations of the

complaint as true and must construe those allegations in the

light most favorable to the plaintiff. Alvarez v. Attorney Gen.

for Fla.. 679 F.Sd 1257, 1261 (11th Cir. 2012).

     In this case. Plaintiffs have easily met their initial burden

for establishing continuing violations of CWA. Plaintiffs have

alleged a detailed series of events when sediment-laden

rainwater streamed onto their property from the lots under

construction     all   the   way    up   to   December        2,   2015,

approximately two weeks before they filed their Complaint.

§505(a) "does permit such suits when there is a pattern of

intermittent violations, even if there is no violation at the

moment suit is filed."         Chesapeake Bay Found.. Inc. v.

Gwaltney of Smithfield. Ltd.. 844 F.2d 170, 171 (4th Cir.

1988) ("Gwaltney II").         Plaintiffs also alleged that these

discharges continue to happen and that Defendants Forestar
                            29
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 30 of 42




and Temco continue to allow this to happen in violation ofthe

terms of their permits.       Plaintiffs claim that the discharges

violate a number of Georgia water quality standards that the

General Permit requires compliance with.                Plaintiffs also

identify a number of other requirements of the General

Permit and allege that Defendants continue to violate those

terms.   Taking the allegations of the Complaint in the light

most favorable to         Plaintiffs, the Court concludes          that

Plaintiffs have sufficiently alleged the existence of ongoing

violations ofthe CWA and Defendants' permits.

           2.    Factual Challenge

     Plaintifffs may prove an ongoing violation on the merits

by "either (1) by proving violations that continue on or after

the date the complaint is filed, or (2) by adducing evidence

from which a reasonable trier of fact could find a continuing


                                   30
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 31 of 42




likelihood   of   a   recurrence     in   intermittent    or   sporadic

violations." Gwaltney 11. 844 F.2d at 171-72.^

       Defendants Forestar and Temco argue that the videos

and photographs attached as Exhibits E and J to the

Complaint demonstrate          that the allegations        as to the

November 18, 2015 and December 1-2, 2015 events do not

amount to CWA violations.           (Br. Supp. Mot. to Dismiss at

^9.f     According to Defendants Forestar and Temco, the

video from December 2, 2015 "shows only nonpoint source


    The Court notes that Gwaltney II addressed whether the
plaintiffs had proved an ongoing violation at trial. 844 F.2d at
171. This is a motion to dismiss and no discovery or fact finding
has occurred.
^ Defendants Forestar and Temco contend that the events prior
to those occurred before the receipt of Plaintiffs' Notice of Intent
to Sue on September 18, 2015 and thus are irrelevant because
"Defendants had no notice of any concerns that there may have
been, nor an opportunity to correct them." (Br. Supp. Mot. to
Dismiss at 19.) The Court need not address this argument at
this juncture if the remaining allegations sufficiently establish
jurisdiction, which is the only issue the Court is presently tasked
with addressing.
                                  31
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 32 of 42




water flow, like the natural sheeting of water down the

street," which is not a violation of the CWA. (Id.) Defendants

Forestar and Temco also state that the video shows the

BMPs, including silt fencing, filter bags, straw top cover, and

straw wattle, functioning properly as well as a newly installed

drainage gate in front of Plaintiffs' garage.              (Jd at 20.)

Defendants' expert, Dr. Wade L. Nutter, opines that these

BMPs "were in place and functional" on December 1 and 2,

2015. (Mot. to Dismiss Ex. A (Docket Entry No. 16-2) at 3.)

Dr. Nutter further opined:

     It is my professional opinion that the BMPs I
     observed were appropriate and adequate for
     controlling stormwater from the construction sites
     and were updated as construction activities and soil
     disturbance changed. The silt fence and other on-
     site BMPs, including the straw wattles at the two
     curb inlets and the sediment basin at the end ofthe
     discharge pipe were effective in collecting and
     controlling sediment. Further, there was no
     evidence that Little Pumpkinvine Creek had

                                   32
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 33 of 42




     sediment deposits or any adverse impacts from the
     construction sites along Little Pumpkinvine Creek.

(Jd at 4.)

     Defendants Forestar and Temco further argue that the

video from December 1, 2015 does not show any CWA

violations and instead shows only functioning BMPs.                (Br.

Supp. Mot to Dismiss at 21-22.)            Dr. Nutter indicated that

"[a]ll BMPs were in place and functional" on December 1,

2015. (Mot to Dismiss Ex. A at 3.) Defendants contend that

the November 18, 2015 video does not show any CWA

violations and, instead, shows no point source discharges

and functioning BMPs.         (Br. Supp. Mot to Dismiss at 22.)

Some of the additional BMPs were put in place after

November 18, 2015.           (Id)    Dr. Nutter indicates that on

November 18 there was "a fairly extreme" rain event, and

"from the     photographs      [he] observed the BMPs were

                                    33
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 34 of 42




functioning but overwhelmed in a few places by the high

intensity event." (Mot. to Dismiss Ex. A at 4.)

     In response, Plaintiffs submit the Affidavit of Plaintiff

Wendy Coward as well as the Affidavit of Dr.                       Brian

Wellington, their own expert, to demonstrate that discharges

of sediment-laden storm water and mud onto Plaintiffs'

property and      into the     Little   Pumpkinvine       Creek    have

continued after the filing of the Complaint            (Resp. Mot. to

Dismiss at 23.)        Plaintiff Wendy Coward states that on

December 24, 2015 mud and storm water flowed from Lots

8, 9, 10, and 11, across the cul-de-sac, onto her property,

and into the Creek. (Aff. of PI. Wendy Coward (Docket Entry

No. 17-1) H 18.) According to Plaintiff Wendy Coward, on

December 25, 2015, the same discharges occurred, and she

found muddy water seeping under the silt fencing on Lot 9

and the retention pond was full of silt. (Jd, H 19.)
                             34
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 35 of 42




     Plaintiffs' expert, Dr. Wellington, reviewed the site

development      plans    and    visited    Plaintiffs'   property   on

February 24, 2016.        (Aff. of Dr. Brian Wellington (Docket

Entry No. 17-2) U 3.) Dr. Wellington states that he observed

"a buildup of sediment within the sediment trap at the culvert

outlet" into Little Pumpkinvine Creek, and he opines that "it is

more likely than not that during rain events sediments

captured within this area will overtop the sediment trap and

will be discharged into the Creek." (Jd, H 7.) Dr. Wellington

also claims that two of the curb inlets installed on Lullwater

Late are ineffective for capturing storm water due to the

steepness of the road and "thus a significant amount of

storm water is directed towards [Plaintiffs'] property." (Jd, H

8.) Dr. Wellington continues, stating that the third curb inlet,

located adjacent to Plaintiffs' property, should capture storm

water flowing down hill but "instead of flowing towards the
                            35
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 36 of 42




curb inlet, storm water          is discharged       onto [Plaintiffs'^

driveway and directed to their home." (Jd,) According to Dr.

Wellington, the two grated drop inlets installed on both ends

of Plaintiffs' driveway "have been ineffective in preventing the

flooding of [Plaintiffs'] home." (JdH 9.)

     Based on his site visit and observation of stained grass

and water, Dr. Wellington concluded that the erosion control

measures on Lot 8 "are allowing sediments to escape the

site." (Dr. Wellington Aff. H 11 •) Dr. Wellington states that the

BMPs "were not properly maintained" when he visited the

site. (14) Dr. Wellington claims that the temporary sediment

ponds "failed to adhere to the required design standards,"

resulting "in significant sediments escaping the site and

being deposited in Little Pumpkinvine Creek and adjacent

wetlands." (141113.)


                                   36
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 37 of 42




     Plaintiffs contend that the evidence supplied by the

Affidavits of Plaintiff Wendy Coward and Dr. Wellington are

sufficient to establish jurisdiction under the second prong of

the Gwaltney II test.          (Resp. Mot. to Dismiss at 24.)

Defendants Forestar and Temco contend that Plaintiffs'

evidence is insufficient.       (Reply Mot. to Dismiss (Docket

Entry No. 21) at 6-7.) Defendants Forestar and Temco ask

the Court to favor their expert because he visited the site

more often and on days when it rained. (Id, at 7.) They also

contend that the videos show only sheet flow and do not

show that the BMPs failed or that there were point source

discharges. (Id,)

     In essence, Defendants Forestar and Temco are asking

the Court to decide the merits of Plaintiffs' Complaint-

whether Defendants are violating the CWA~under the guise

of a motion to dismiss for lack of subject matter jurisdiction.
                              37
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 38 of 42




"When the jurisdictional basis of a claim is intertwined with

the merits, the district court should apply a Rule 56 summary

judgment standard when ruling on a motion to dismiss which

asserts a factual attack on subject matter jurisdiction."

Lawrence, 919 F.2d at 1530. Accordingly, "the full panoply

of protections afforded the party opposing such a motion will

apply here."     Id,'' Applying this standard, a district should

dismiss a plaintiff's claim "[wjhere the plaintiffs claims are

'clearly immaterial, made solely for the purpose of obtaining

jurisdiction or are wholly unsubstantiated and frivolous.'" Id,

at 1530 n. 7 (quoting Eaton v. Dorchester Dev., Inc., 692

F.2d 727, 734 (11th Cir. 1982)). The Court therefore applies



   In other circuits, courts "make a threshold finding under Rule
12(b)(1), which may entail limited discovery and jurisdictional
fact-finding, before ruling on the merits," but the Eleventh Circuit
does not follow that approach, instead applying the Rule 56
standard. Douglas v. United States, ~ F.3d —, —, No. 14-
11444, 2016 WL 791232, at *8 (11th Cir. Feb. 29, 2016).
                                 38
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 39 of 42




the summary judgment standard to Defendants Forestar and

Temco's factual challenge to subject matter jurisdiction in

this case.

     Federal Rule of Civil Procedure 56(a) allows a court to

grant summary judgment when "there is no genuine dispute

as to any material fact and the movant is entitled to a

judgment as a matter of law."           Fed. R. Civ. P. 56(a). The

party seeking summary judgment bears the initial burden of

showing the Court that summary judgment is appropriate and

may satisfy this burden by pointing to materials in the record.

Jones V. UPS Ground Freight. 683 F.3d 1283, 1292 (11th

Cir. 2012). Once the moving party has supported its motion

adequately, the burden shifts to the non-movant to rebut that

showing by coming forward with specific evidence that

demonstrates the existence of a genuine issue for trial. Id,


                                   39
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 40 of 42




        When evaluating a motion for summary judgment, the

Court must view the evidence and draw all reasonable

factual inferences in the light most favorable to the party

opposing the motion. Morton v. Kirkwood, 707 F.Sd 1276,

1280 (11th Cir. 201S); Strickland. 692 F.Sd at 1154.                The

Court also must "resolve all reasonable doubts about the

facts in favor of the non-movant." Morton. 707 F.Sd at 1280

(internal quotation marks and citations omitted). Further, the

Court     may   not   make     credibility   determinations,       weigh

conflicting evidence to resolve disputed factual issues, or

assess the quality of the evidence presented.               Strickland.

692 F.Sd at 1154. Finally, the Court does not make factual

determinations. Rich, 716 F.Sd at 5S0.

     Applying this standard, the Court concludes that it has

subject matter jurisdiction over Plaintiffs' CWA claims at this

time.     There exists a genuine dispute of material fact
                            40
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 41 of 42




between Plaintiffs and Defendant Forestar and Temco. The

Court at this juncture cannot weigh conflicting evidence or

make credibility determinations, including resolving the battle

of the experts that will likely continue to develop in this case.

The expert reports alone indicate that reasonable jurors may

be able to conclude that Defendants Forestar and Temco

violated the CWA.        The Court thus denies this portion of

Defendant Forestar and Temco's Motion to Dismiss.

      0.   Supplemental Jurisdiction

      Because some of Plaintiffs' federal law claims survive

this Motion to Dismiss, the Court, in its discretion, continues

to exercise its supplemental jurisdiction over Plaintiffs' state

law claims. 28 U.S.C. § 1367.

IV.   Conclusion

      ACCORDINGLY, the Court GRANTS IN PART and

DENIES IN PART Defendants Forestar and Temco's Motion
                                  41
 Case 4:15-cv-00245-HLM Document 25 Filed 04/07/16 Page 42 of 42




to Dismiss [16].        The Court GRANTS the Motion and

DISMISSES Count II of Plaintiffs' Complaint.                The Court

otherwise DENIES the Motion.

     IT IS SO ORDERED, this the 7 day of April, 2016.



                            UNITED STATES DISTRICITJUDGE




                                  42
